Case 2:08-cr-20005-KHV Document 1 Filed 02/01/08 Page 1 of 3

“

IN THE UNITED STATES DISTRICT COURT F L E D

    

 

FOR THE DISTRICT OF KANSAS FEB 0 1 2008
erk, US. Bistie: our
UNITED STATES OF AMERICA, ) By: =. Leputy Cier.
Plaintiff,
Vv. No. 08-20005 -01-KHV / PU
ANTWON R. SIMPSON,
Defendant.

 

SEALED INDICTMENT
The Grand Jury charges that:
COUNT 1
On or about August 18, 2007, in the District of Kansas, the defendant,
ANTWON R. SIMPSON,
knowingly and intentionally possessed with intent to distribute a quantity of a mixture and
substance containing a detectable amount of marijuana, a controlled substance, in
violation of Title 21, United States Code, Sections 841(a)(1) and (B)(1)(D).
COUNT 2
On or about August 18, 2007, in the District of Kansas, the defendant,
ANTWON R. SIMPSON,
did knowingly, intentionally and unlawfully use and carry a firearm, that is, a9mm Sturm,
Ruger & Co. pistol, Model P95 DC, serial number 316-06467, during and in relation to a
drug trafficking crime for which he may be prosecuted in a court of the United States, that
is, possession with intent to distribute marijuana, and did possess said firearm, in

furtherance of a drug trafficking crime for which he may be prosecuted in a court of the

‘
Case 2:08-cr-20005-KHV Document 1 Filed 02/01/08 Page 2 of 3

United States, that is, possession with intent to distribute marijuana, in violation of Title 18,
United States Code, Section 924(c)(1)(A).

A TRUE BILL.

FOREPERSON

DATED: [ | ol of

pw D.Voroliod
ERIC F. MELGREN

UNITED STATES ATTORNEY
DISTRICT OF KANSAS

1200 Epic Center

301 N. Main

Wichita, Kansas 67202
Ks.S.Ct. No. 12430

(It is requested that the trial of the above-captioned case be held in the City of Kansas City,
Kansas.)

The Court acknowledges the return of this indictment in open court.

Ba. apadie de Ua ds toe—
UNITED SPATES DISTRICT JUDGE

DISTRICT OF KANSAS
Case 2:08-cr-20005-KHV Document 1 Filed 02/01/08 Page 3 of 3

PENALTIES:
COUNT 1 -
7 NMT 5 years Imprisonment,
7 NMT $250,000.00 Fine,
z NLT 2 years S.R., and
: $100 Special Assessment.

COUNT 2 -

7 NLT mandatory minimum of 5 years and NMT Life (consecutive to any other
term) Imprisonment,

7 NMT $250,000.00 Fine,

NMT 5 years S.R., and

s $100 Special Assessment.
